 Case: 5:15-cr-00048-KKC        Doc #: 38    Filed: 09/25/15     Page: 1 of 11 - Page ID#:
                                            109



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                        CENTRAL DIVISION -- AT LEXINGTON

UNITED STATES OF AMERICA,                       CRIMINAL ACTION NO. 5:15-cr-48-KKC
      Plaintiff,

                                                           MEMORANDUM
V.
                                                         OPINION AND ORDER

DAVELL LAMONT SMITH and
SABRINA R. SPILLMAN,
      Defendants.


       This matter is before the Court on Defendant Davell Lamont Smith’s and Defendant

Sabrina R. Spillman’s motions to suppress evidence obtained during several searches. (DE

21; DE 22). The Court held an evidentiary hearing on August 13, 2015. For reasons stated

below, the Court will deny Defendants’ motions to suppress.

I.     Background

       In 2014 and 2015, the Nicholasville Police Department (“NPD”) received multiple

complaints of suspicious activity at 114 Honeysuckle Court in Jessamine County. Neighbors

described the behavior as being “consistent with drug activity” and as involving “high

volumes of traffic resulting in short visits” to the home. (DE 21-1 Mem. in Supp. at 2.) After

conducting surveillance to verify the neighbors’ assertions, NPD organized, executed, and

video recorded two controlled heroin purchases from Defendants at the Honeysuckle

residence. (DE 21-1 Mem. in Supp. at 2.) NPD then petitioned the Jessamine County

District Court for a warrant to search (1) the premises at 114 Honeysuckle Court; (2) a 2007

Lincoln MKX; (3) a 1995 Chevrolet Tahoe; and (4) the person of both Defendants. (DE 21-2.)

NPD Detective Jeff Fryman submitted an affidavit in support of the petition, which

Jessamine District Court Judge Bill Oliver approved, issuing the requested warrant

February 25, 2015. (DE 21-2, 21-3.)
 Case: 5:15-cr-00048-KKC        Doc #: 38    Filed: 09/25/15     Page: 2 of 11 - Page ID#:
                                            110



       NPD then proceeded to execute the search warrant. (DE 21-3.) NPD received

information that Smith and Spillman were preparing to leave the 114 Honeysuckle Court

residence in the Lincoln MKX listed in the search warrant. (DE 21-1.) NPD officers

observed Defendants driving the Lincoln and stopped the vehicle at the intersection of

Laurel Lane and Ridgewood Drive. (DE 21-1.) The officers then took the Defendants into

custody, searched their persons and searched the Lincoln at the scene. (DE 21-1.) A pat

down of Defendant Smith revealed a .22 caliber revolver, ammunition, cash, three bags of

heroin, empty baggies, and two cell phones. (DE 21-1.) In Defendant Spillman’s purse, NPD

officers discovered two phones, cash, baggies, and a straw. (DE 21-1.) Spillman also

informed the officers that she had a baggie containing crack cocaine in her bra. Inside the

Lincoln, NPD officers found a Glock .40 caliber handgun and magazines, two bags of

marijuana, two bags of heroin, a scale, and a cell phone. (DE 21-1.)

       Other officers proceeded to 114 Honeysuckle Court where they conducted searches of

the residence and the Chevrolet Tahoe parked in the driveway. The Tahoe search revealed

two cellphones, cash, a large quantity of heroin, and two handguns—a Sig Sauer .45 caliber

handgun and a Smith & Wesson handgun with a defaced serial number—in a safe. (DE 21-

1, 21-3.) Additional evidence of the charged crimes was found in the residence; however,

Defendants only move to suppress evidence recovered as a result of the two vehicle searches

and the searches of their persons.

II.    Discussion

       Defendants argue that the searches of their persons and the vehicles listed in the

search warrant violated their Fourth Amendment rights and, thus, the evidence seized

during these searches must be suppressed. (DE 21-1.) The Defendants claim the affidavit

supporting the search warrant failed to establish a nexus connecting Smith, Spillman, and

                                              2
 Case: 5:15-cr-00048-KKC        Doc #: 38    Filed: 09/25/15    Page: 3 of 11 - Page ID#:
                                            111



the vehicles to the alleged criminal activity occurring at 114 Honeysuckle Court.

Consequently, the Defendants reason that the affidavit did not provide the probable cause

necessary to justify the issued warrant and further, that the affidavit was so deficient that

the NPD officers could not have avoided the Fourth Amendment warrant requirement

through good-faith reliance. (DE 21-1; DE 22.)

       The United States directly refutes both of the Defendants’ assertions regarding the

adequacy of the affidavit and application of the good-faith exception to the warrant

requirement. (DE 23.) Additionally, the Government asserts that the Defendants’ motion

should be denied because the search complied with the requirements of the Fourth

Amendment and was conducted under circumstances in which a warrantless search is

permissible. (DE 23.)

       A. Sufficiency of the Affidavit

       A search warrant may only be issued upon a showing of probable cause. United

States v. Williams, 544 F.3d 683, 686 (6th Cir. 2008). Probable cause exists when the

totality of the circumstances demonstrate a fair probability “that contraband or evidence of

a crime will be found in a particular place.” United States v. Greene, 250 F.3d 471, 478 (6th

Cir. 2001) (quoting United States v. Davidson, 936 F.2d 856, 859 (6th Cir. 1999)). Our

precedents illustrate a preference for search warrants and the safeguard of “scrutiny [by] a

neutral magistrate.” United States v. Leon, 468 U.S. 897, 913 (1984). As such, a

magistrate’s determination of probable cause must be shown significant deference. Id. at

914. Consequently, the Court’s evaluation of the Affidavit’s adequacy is limited to

determining whether, in the totality of the circumstances, Judge Oliver had a “substantial

basis for concluding that [these] search[es] would uncover evidence of wrongdoing.” United

States v. Allen, 211 F.3d 970, 973 (6th Cir. 2000). This inquiry must be conducted in a

                                             3
 Case: 5:15-cr-00048-KKC         Doc #: 38    Filed: 09/25/15     Page: 4 of 11 - Page ID#:
                                             112



“realistic and commonsense manner” guided by “practical considerations of everyday life.”

United States v. Brooks, 594 F.3d 488, 492 (6th Cir. 2010). However, when, as here, a

warrant is issued on the basis of an affidavit, the scope of this review is limited to the “four

corners of the affidavit.” Id.

       The principal thrust of the Defendants’ argument is that the affidavit failed to

provide a nexus connecting the criminal conduct it describes—the controlled heroin buys—

and most of the places for which the warrant authorized searches—the vehicles and the

defendants’ persons. (DE 21-1.) Were the Court’s inquiry limited to determining whether

the affidavit explicitly provides “cause to believe that the specific things to be searched for

and seized” were on the Defendants’ persons or in the vehicles, this deficiency in the

affidavit might be determinative. United States v. Frazier, 423 F.3d 526, 532 (6th Cir.

2005). However, the information provided in the affidavit need not be so exacting; the

“nexus can be inferred from the type of crime being investigated, the nature of things to be

seized, the extent of an opportunity to conceal the evidence elsewhere and the normal

inferences that may be drawn.” United States v. Elbe, 774 F.3d 885, 889–90 (6th Cir. 2014)

(internal quotation marks and citations omitted). The United States contends that such an

inference was available to Judge Oliver based on the affidavit; the Court disagrees. (DE 23.)

       The affidavit states that in the twenty-four hours prior to submitting their petition

NPD used a confidential informant “to make two controlled buys for quantities of Heroin

from the above location.” (DE 21-2.) The use of the singular “location” here is key because

this sentence is the only place the affidavit could be construed to link narcotics trafficking

to anything other than the 114 Honeysuckle Court residence. Every other factual assertion

is directly tied to the residence alone. (See, e.g., DE 21-2 Def.’s Ex. 2 at 2 (“behavior is

consistent with that of residence selling narcotics”)(emphasis added).) As written, however,

                                               4
 Case: 5:15-cr-00048-KKC        Doc #: 38    Filed: 09/25/15    Page: 5 of 11 - Page ID#:
                                            113



this lone sentence cannot be read as grounds for the inference the United States seeks.

Though Defendants’ Persons and the two vehicles are listed “above” the information about

controlled buys, only the residence is referenced directly above this statement and it is

hardly reasonable to infer that a singular “location” intended to reference four separate

areas. Had the affidavit offered that two controlled buys of Heroin were made “from the

above location[s] [in transactions conducted by the persons to be searched],”this affidavit

may have provided enough. That is not the case here.

       Though this Court’s review is not rigid, only those inferences which can be

reasonably made from the affidavit can establish probable cause. This affidavit “completely

neglect[s] to indicate why the affiant believed that” the defendants or the vehicles had any

connection with either the residence or the narcotics trafficking described therein. United

States v. Rose, 714 F.3d 362, 366 (6th Cir. 2013). Consequently, the affidavit failed to

provide the probable cause necessary to satisfy the Fourth Amendment warrant

requirement. U.S. Const. amend. IV. Yet, this determination does not necessarily mandate

suppression of the evidence at issue.

       B. The Good-Faith Exception

       Though the affidavit was not sufficient to establish probable cause, the exception to

the exclusionary rule announced in United States v. Leon, 468 U.S. 897 (1984), could

preserve the fruits of these searches. In Leon, the Supreme Court held that the

exclusionary rule does not bar admission of evidence obtained by police officers acting in

objectively reasonable reliance on a search warrant that is subsequently held to be

defective. See Leon, 468 U.S. at 918–21. However, Leon’s good-faith exception does not

prevent exclusion in the following four circumstances:



                                             5
 Case: 5:15-cr-00048-KKC               Doc #: 38       Filed: 09/25/15        Page: 6 of 11 - Page ID#:
                                                      114



                 (1) when the issuing judge was misled by information in an
                 affidavit that the affiant knew was false or would have known
                 was false except for his reckless disregard for the truth, in
                 violation of Franks v. Delaware, 438 U.S. 154 (1978); (2) when
                 the issuing judge has failed to act in a neutral and detached
                 fashion; (3) when the search-warrant affidavit is “so lacking in
                 indicia of probable cause as to render official belief in its
                 existence entirely unreasonable;” and (4) when the warrant is
                 so facially deficient (i.e. in failing to particularize the place to
                 be searched or the items to be seized) that the executing
                 officers could not have reasonably presumed that it was valid.

See Leon, 468 U.S. at 923; see also United States v. Van Shutters, 163 F.3d 331, 337 (6th

Cir. 1998); United States v. Hython, 443 F.3d 480, 484 (6th Cir. 2006). The Defendants rely

on the third exception as grounds for avoiding the good-faith exception.

        Affidavits that are ‘so lacking in indicia of probable cause’ have come to be known as

‘bare bones’ affidavits.” United States v. Laughton, 409 F.3d 744, 748 (6th Cir. 2005)

(citations omitted). “The bare-bones inquiry requires examination of the affidavit for

particularized facts that indicate veracity, reliability, and basis of knowledge and that go

beyond bare conclusions and suppositions.” United States v. Rose, 714 F.3d 362, 367 (6th

Cir.) (citing Laughton, 409 F.3d at 748), cert. denied, 134 S. Ct. 272 (2013). However, “[t]he

inquiry into whether an affidavit is so bare bones as to preclude application of the good-

faith exception is a less demanding inquiry than the one involved in determining whether

an affidavit provides a substantial basis for the magistrate's conclusion of probable cause.”

Rose, 714 F.3d at 367 (citing Laughton, 409 F.3d at 748–49). But “a determination of good-

faith reliance, like a determination of probable cause, must be bound by the four corners of

the affidavit.” Laughton, 409 F.3d at 751.1


1 The Court recognizes that this holding in Laughton was modified by the panel in United States v. Frazier, 423

F.3d 526 (6th Cir. 2005). In Frazier, the Sixth Circuit concluded that “information that was known to the officer
and revealed to the issuing [judge]” but not necessarily included within the affidavit could be considered by a
court in making a determination under Leon. Id. at 535–36. Here, however, the government has presented no
evidence showing that information other than what is contained in the affidavit itself was presented to the
                                                       6
 Case: 5:15-cr-00048-KKC               Doc #: 38       Filed: 09/25/15         Page: 7 of 11 - Page ID#:
                                                      115



        A review of this Circuit’s precedents leads the Court to conclude that the United

States cannot avoid exclusion through Leon’s good-faith exception. In Laughton, a majority

of the panel rejected a good-faith argument put forth to justify reliance on an affidavit that

claimed “the defendant ‘will keep controlled substances in his pants pockets and stashes

around his home” without factual support and failed to connect “observed controlled

narcotics purchases” with the place to be searched. 409 F.3d at 749. The affidavit here

undoubtedly links observed narcotics purchases and other drug activity to the residence,

but, as in Laughton, there is no link between any incriminating facts and the challenged

search locations—the vehicles, and the Defendants’ persons.

        Moreover, the evidence in this affidavit is weaker than the averments found

insufficient to establish a nexus between the evidence sought and the defendant’s home in

United States v. McPhearson. 469 F.3d 518, 526 (6th Cir. 2006). In McPhearson, the

Government sought to base the requisite connection on the defendant’s arrest at his home

in possession of crack cocaine. Id. The court held this bare fact inadequate to justify good-

faith reliance. Id. If a (1) homeowner’s arrest (2) in their home (3) while in possession of

narcotics, cannot be relied on to connect that home with narcotics evidence, a (1) drug

purchase (2) at a home (3) with no identified owner, cannot connect two individuals and

two vehicles to that purchase.            The affidavit here neither contained facts sufficient to

establish probable cause to search the challenged locations, nor incorporated claims which

could justify good-faith reliance on the warrant. Thus, the United States cannot avoid

suppression through resort to the Fourth Amendment’s Warrant Clause.




issuing judge. Accordingly, the Court will only consider the information that appears in the affidavit. See United
States v. Bautista, No. 5:11-CR-42, 2012 WL 1014995, at *3 n.2 (W.D. Ky. Mar. 22, 2012); United States v.
Jefferson, 717 F. Supp. 2d 790, 803 n.6 (S.D. Ohio 2010).

                                                        7
 Case: 5:15-cr-00048-KKC        Doc #: 38    Filed: 09/25/15    Page: 8 of 11 - Page ID#:
                                            116



       C. Validity of the Search if Warrantless

       Nevertheless, suppression is not mandated by failure to satisfy the warrant clause,

“since the Fourth Amendment prohibits only those searches which are unreasonable.”

Marshall v. Nolichuckey Sand Co., 606 F.2d 693, 694 (6th Cir. 1979). Searches without

valid warrants have been held reasonable under “a few specifically established and well-

delineated exceptions.” California v. Acevedo, 500 U.S. 565, 580 (1991). Relevantly, these

exceptions permit (1) warrantless searches of vehicles when the search is supported by

probable cause and (2) full searches of persons following a lawful arrest. Id.; United States

v. Robinson, 414 U.S. 218, 235 (1973). For reasons set forth below, the Court finds that all

of the challenged searches fall under these exceptions and thus, the evidence procured

thereby need not be suppressed.

          1. Probable Cause

       The Court’s finding that the affidavit lacked sufficient facts to establish probable

cause does not necessitate a finding that probable cause to arrest the Defendants and

search their vehicles was lacking. See, e.g., Pennsylvania v. Lebron, 518 U.S. 938, 940

(1996) (“If a car is readily mobile and probable cause exists to believe it contains

contraband, the Fourth Amendment thus permits police to search the vehicle without

more.”); United States v. Fachini, 466 F.2d 53, 57 (6th Cir. 1972) (“a showing of probable

cause that a felony has been committed has long been deemed sufficient to justify arrest,

even if the arrest warrant is invalid”). This is true even though the required factual basis

for probable is equally demanding for warrantless police conduct. Fachini, 466 F.2d at 57.

As previously discussed, probable cause for a search exists “when there is a ‘fair

probability,’ given the totality of the circumstances, that contraband or evidence of a crime

will be found in a particular place.” United States v. Greene, 250 F.3d 471, 478 (6th Cir.

                                             8
 Case: 5:15-cr-00048-KKC        Doc #: 38    Filed: 09/25/15     Page: 9 of 11 - Page ID#:
                                            117



2001) (quoting United States v. Davidson, 936 F.2d 856, 859 (6th Cir. 1999)). An officer may

also make an arrest if they have, “reasonable cause to believe that the person to be arrested

has committed a felony.” United States v. Watson, 423 U.S. 411, 422 (1976).

       Here, a thorough investigation revealed that both Defendants were actively engaged

in narcotics trafficking. Video recordings of each Defendant conducting an illicit transaction

unquestionably provided NPD with probable cause to believe that the Defendants had

committed felonies. Thus, their arrests, regardless of the presence of a warrant, were

lawful. As such, the contemporaneous searches of the Defendants’ persons were also valid

as incidental to their arrests. United States v. Robinson, 414 U.S. 218, 224 (1973) (“[t]he

validity of the search of a person incident to a lawful arrest has been regarded as settled

from its first enunciation”).

       Likewise, the NPD had probable cause to believe there was evidence of narcotics

trafficking in both the Lincoln MKX and the Chevrolet Tahoe. The pat-down search of

Defendant Smith, which revealed evidence of heroin trafficking, occurred shortly after he

was stopped in the Lincoln SUV. NPD also was aware that one of the recordings mentioned

above captured the Defendants dealing narcotics from inside the Lincoln while the vehicle

sat in the Honeysuckle residence’s driveway. Based on this recording, and certainly once

the Lincoln search uncovered further evidence, there was probable cause to believe that

other vehicles operated by the Defendants and parked at the residence would hold

additional contraband. Suppression hearing testimony from NPD Officer Fryman revealed

that recent complaints from neighbors placed Defendant Smith inside the Chevrolet Tahoe.

       In certain narrow classes of cases, courts have recognized that probable cause,

though necessary, may not be sufficient to justify a vehicle search. However, nothing here

would places these searches into any of those strictly delimited exceptions. Nothing was

                                              9
Case: 5:15-cr-00048-KKC        Doc #: 38     Filed: 09/25/15    Page: 10 of 11 - Page ID#:
                                             118



offered to suggest that either vehicle was used as a residence at a “place regularly used for

residential purposes,” or that the vehicles were not “readily mobile.” Maryland v. Dyson, 527

U.S. 465, 467 (1999); California v. Carney, 471 U.S. 386, 392 (1985). Under these

circumstances, the NPD’s searches of the Lincoln and Tahoe were supported by probable

cause and thus, satisfy the Fourth Amendment reasonableness requirement.

          2. Relevance of Arresting/Searching Officer’s Subjective Motivations

       At the suppression hearing counsel for the Defendants made several attempts to

illicit testimony tending to show that the officers believed they were conducting these

searches pursuant to a search warrant. Whether that is true or, as the United States has

argued, the officers believed other grounds justified these searches, is irrelevant. (DE 23 at

5.) “Subjective intentions play no role in ordinary, probable-cause Fourth Amendment

analysis.” Whren v. United States, 517 U.S. 806, 813 (1996). Even if the searching officers

believed their search was justified by an invalid warrant it remains lawful “as long as the

circumstances, viewed objectively, justify that action.” Scott v. United States, 436 U.S. 128,

138 (1978). As explained above, the objective circumstances justified the arrests and

subsequent searches without reference to the warrant.

          3. Collective Knowledge

       Similarly, defense counsel sought to prove that the NPD officers who actually

conducted the arrests and searches had little knowledge of the preceding investigation.

Much like the officers’ subjective motivations, their personal knowledge of the facts

supporting probable cause is “immaterial” because the facts as known to the NPD can be

imputed to the arresting and searching officers through the “collective knowledge doctrine.”

United States v. Lyons, 687 F.3d 754, 768 (6th Cir. 2012). When an officer acts at the

request of another officer possessing the facts needed to justify that action the collective
                                             10
Case: 5:15-cr-00048-KKC         Doc #: 38   Filed: 09/25/15    Page: 11 of 11 - Page ID#:
                                            119



knowledge doctrine permits the Court to impute “the investigating officer’s suspicions onto

the responding officer.” Id. at 766. This doctrine reflects a practical determination that

“effective law enforcement cannot be conducted unless police officers can act on directions

and information transmitted by one officer to another.” United States v. Hensley, 469 U.S.

221, 231 (1985). Since the arrests and searches were conducted at the behest of NPD

detectives who, as explained above, possessed probable cause to arrest the Defendants and

search their vehicles, the collective knowledge doctrine precludes any challenge based on

the acting officers’ limited information.

III. Conclusion

       The Court finds that suppression is not warranted in this case because, although the

challenged warrant was invalid, the arrests and subsequent searches were reasonable

under the circumstances. Warrantless vehicle searches and arrests are both permissible

when supported by probable cause. The NPD officers who ordered the search possessed

sufficient facts to create a reasonable belief that the Defendants had committed felonies

and that their vehicles would contain contraband associated with those felonies.

       Accordingly, IT IS ORDERED that Defendant Davell Lamont Smith’s and

Defendant Sabrina R. Spillman’s motions to suppress evidence obtained during the

February 25, 2015 searches (DE 21; DE 22) are DENIED.

       Dated September 25, 2015.




                                            11
